
695 S.E.2d 454 (2010)
Quincy CORBETT, Jr.
v.
J.C. HUGGINS, Supt. of Morrison Cor. Inst.
No. 116P10.
Supreme Court of North Carolina.
March 24, 2010.
Quincy Corbett, pro se.
Robert C. Montgomery, Special Deputy Attorney General, for J.C. Huggins.

ORDER
Upon consideration of the application filed by Petitioner on the 17th of March 2010 in this matter for Writ of Habeas Corpus, the following order was entered and is hereby certified to the Superior Court, Cumberland County:
"Denied by order of the Court in conference, this the 24th of March 2010."
